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                          IN THE UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO



     YOLANDA WHITE, INDIVIDUALLY                    ) Case No.: 1:25-cv-00407-BMB
     AND ON BEHALF OF JOANN TATE                    )
                                                    ) FIRST AMENDED COMPLAINT FOR
               Plaintiff,                           ) DAMAGES
                                                    )
             vs.                                    )   (1) NEGLIGENCE
                                                    )   (2) DESIGN DEFECT
                                                    )   (3) FAILURE TO WARN
                                                    )   (4) BREACH OF IMPLIED WARRANTY
                                                    )   (5) BREACH OF EXPRESS WARRANTY
     ICU MEDICAL, INC.                              )   (6) FRAUDULENT CONCEALMENT
                                                    )   (7) OHIO’S CONSUMER SALES
                                                    )       PRACTICES ACT
                                                    )   (8) SURVIVAL
                    Defendant.                      )
                                                    )    DEMAND FOR JURY TRIAL
                                                    )
                                                    )
                                                    )
                                                    )
                                                    )
                                                    )
                                                    )
                                                    )

                                         COMPLAINT

       COMES NOW Plaintiff, Yolanda White on Behalf of Joann Tate, by and through the

undersigned counsel, and for her Complaint against ICU Medical, Inc (the “Defendant”), states

and alleges as follows:

       1.      This is an action for damages arising out of failures relating to Defendant’s design,

development, testing, assembling, manufacturing, packaging, promoting, marketing, distribution,

supplying, and/or selling the defective implantable vascular access device.

                                                PARTIES



       2.      Plaintiff, Yolanda White, is an adult citizen and resident of Cuyahoga County,

Ohio, and claims damages as set forth below.
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        3.      Plaintiff Yolanda White is the representative of Decedent Joann Tate.

        4.      On information and belief, ICU Medical, Inc. is a corporation organized under the

laws of the State of Delaware and has a principal place of business at 951 Calle Amanecer San

Clemente, CA 92673 is engaged in the business of researching, developing, designing, licensing,

manufacturing, distributing, supplying, selling, marketing, and introducing into interstate

commerce, either directly or indirectly through third parties or related entities, its medical devices.


                                   JURISDICTION AND VENUE

        22.     This Court has subject matter jurisdiction over the parties pursuant to 28 U.S.C. §

1332(a) because the parties are citizens of different states and the amount in controversy exceeds

$75,000.00, exclusive of interest and cost.

        23.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 by virtue of the facts

that (a) a substantial part of the events or omissions giving rise to the claims occurred in this

District, and (b) Defendant’s products are produced, sold to, and consumed by individuals in the

State of Ohio, thereby subjecting Defendant to personal jurisdiction in this action and making them

all “residents” of this judicial District.

        24.     Defendant has and continue to conduct substantial business in the State of Ohio and

in this District, distribute vascular access products in this District, receive substantial

compensation and profits from sales of vascular access products in this District, and made material

omissions and misrepresentations and breaches of warranties in this District, so as to subject them

to in personam jurisdiction in this District.

        25.     Consistent with the Due Process Clause of the Fifth and Fourteenth Amendments,

this Court has in personam jurisdiction over Defendant because Defendant is present in the State

of Ohio, such that requiring an appearance does not offend traditional notices of fair and substantial



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justice.

                                   PRODUCT BACKGROUND

           26.   In or about May 17, 2006, Smiths Medical Md, Inc.. received clearance via the

510(k) Premarket Notification Program from the Food and Drug Administration (FDA) to market

and sell a product called Port-a-Cath II.

           27.   On or about January 6, 2022, ICU Medical Inc. completed the acquisition of Smith

Medical including the vascular access devices designed and manufactured by Smith’s Medical.

           28.   ICU Medical Inc.’s Vascular Access Devices were designed, patented,

manufactured, labeled, marketed, sold, and distributed by the ICU Medical Inc. at all relevant

times herein.

           29.   The Port-A-Cath II is one of several varieties of port/catheter systems that has been

designed, manufactured, marketed, and sold by ICU Medical Inc.

           30.   According to ICU Medical Inc., the Port-A-Cath II is a totally implantable vascular

access device designed to permit repeated access to the venous system for the parenteral delivery

of medications, fluids, and nutritional solutions and for the sampling of venous blood.

           31.   The intended purpose of the Port-A-Cath II is to make it easier to deliver

medications directly into the patient’s bloodstream. The device is surgically placed completely

under the skin and left implanted.

           32.   The Port-A-Cath II is a system consisting of two primary components: an injection

port and a polyurethane catheter which includes additives intended to make it radiopaque.

           33.   The injection port has a raised center, or “septum,” where the needle is inserted for

delivery of the medication. The medication is carried from the port into the bloodstream through

a small, flexible tube, called a catheter, that is inserted into a blood vessel.




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        34.      The Port-A-Cath II is indicated for patient therapies requiring repeated access to

the vascular system. The port system can be used for infusion of medications, I.V. fluids, parenteral

nutrition solutions, blood products, and for the withdrawal of blood samples.

        35.      The product’s catheter is comprised of a polymeric mixture of polyurethane and a

barium sulfate radiopacity agent.

        36.      Barium sulfate is known to contribute to reduction of the mechanical integrity of

polyurethane in vivo as the particles of barium sulfate dissociate from the surface of the catheter

over time, leaving microfractures and other alterations of the polymeric structure and degrading

the mechanical properties of the polyurethane.

        37.      Researchers have shown that catheter surface degradation in products featuring a

radiopaque barium sulfate stripe is concentrated at the locus of the stripe.1

        38.      The design of the product at issue in this case includes a catheter with a stripe

containing a stripe with a higher concentration of barium sulfate than the rest of the catheter.

        39.      According to relevant medical literature, such design is proven to have a higher rate

of fracture than catheters without the barium-loaded stripe.

        40.      The mechanical integrity of a barium sulfate-impregnated polyurethane is affected

by the concentration of barium sulfate as well as the heterogeneity of the modified polymer.

        41.      Upon information and belief, ICU Medical Inc.’s manufacturing process in

designing and constructing the catheter implanted in Plaintiff involved too high a concentration of

barium sulfate particles for the polymer formulation, leading to improperly high viscosity of the

admixed polyurethane before polymerization and causing improper mixing of barium sulfate

particles within the polymer matrix.


1
 See Hecker JF, Scandrett LA. Roughness and thrombogenicity of the outer surfaces of intravascular catheters. J
Biomed Mater Res. 1985;19(4):381-395. doi:10.1002/jbm.820190404


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        42.     This defect in the manufacturing process led to a heterogeneous modified polymer

which led to an irregular catheter surface replete with fissure, pits and cracks as well as sections

of the catheter lumen which contain more than 30% barium sulfate by weight, reducing the catheter

strength at those loci.

        43.     The roughened catheter surface leads to the collection and proliferation of fibrinous

blood products, thereby drastically increasing the risk of biofilm, infection, and sepsis.

        44.     Although the surface degradation and resultant mechanical failure can be reduced

or avoided with design modifications (e.g., using a higher grade radiopacity compound and/or

encapsulating the admixed polymer within polyurethane), ICU Medical Inc. elected not to

incorporate those design elements into the Port-A-Cath II.

        45.     At all times relevant, ICU Med misrepresented the safety of the Port-A-Cath II

system, and negligently designed, manufactured, prepared, compounded, assembled, processed,

labeled, marketed, distributed, and sold the Port-A-Cath II system as safe and effective device to

be surgically implanted to provide repeated access to the vascular system for the delivery of

medications, intravenous fluids, parenteral nutrition solutions, and blood products.

        46.     At all times relevant to this action, ICU Medical Inc. knew and had reason to know,

that the Port-A-Cath II was not safe for the patients for whom they were prescribed and implanted,

because once implanted the device was prone to fracturing, perforating internal vasculature, and

otherwise malfunctioning.

        47.     At all times relevant to this action, ICU Medical Inc. knew and had reason to know

that patients implanted with a Port-A-Cath II port had an increased risk of suffering life threatening

injuries, including but not limited to: death; infection; hemorrhage; cardiac/pericardial tamponade

(pressure caused by a collection of blood in the area around the heart); cardiac arrhythmia and




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other symptoms similar to myocardial infarction; severe and persistent pain; and perforations of

tissue, vessels and organs, or the need for additional surgeries to remove the defective device.

       48.      Soon after the Port-A-Cath II was introduced to market, which was years before

Plaintiff was implanted with her device, ICU Medical Inc. began receiving large numbers of

adverse event reports (“AERs”) from health care providers reporting that the Port-A-Cath II was

fracturing post-implantation and that fractured pieces were migrating throughout the human body,

including to the heart and lungs. ICU Medical Inc. also received large numbers of AERs reporting

that Port-A-Cath II was found to have perforated internal vasculature. These failures were often

associated with reports of severe patient injuries such as:

             a. hemorrhage.

             b. infection/sepsis;

             c. cardia/pericardial tamponade;

             d. cardiac arrhythmia and other symptoms similar to myocardial infarction;

             e. severe and persistent pain;

             f. perforations of tissue, vessels and organs; and

             g. upon information and belief, even death.

       49.      In addition to the large number of AERs which were known to ICU Medical Inc.

and reflected in publicly accessible databases, there are many recorded device failures and/or

injuries related to the ICU Medical Inc.’s implantable port products which were concealed from

medical professionals and patients through submission to the FDA’s controversial Alternative

Summary Reporting (“ASR”) program.

       50.      The FDA halted the ASR program after its existence was exposed by a multi-part

investigative piece, prompting a widespread outcry from medical professionals and patient




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advocacy groups.2

        51.     Prior to the discontinuation of the ASR program, ICU Medical Inc. reported

numerous episodes of failures of their implanted port/catheter products – including numerous

episodes of infection – under the ASR exemption, thereby concealing them from physicians and

patients.

        52.     ICU Medical Inc. were aware or should have been aware that the Port-A-Cath II

had a substantially higher failure rate than other similar products on the market, yet ICU Medical

Inc. failed to warn consumers of this fact.

        53.     ICU Medical Inc. also intentionally concealed the severity of complications caused

by the Port-A-Cath II and the likelihood of these events occurring.

        54.     Rather than alter the design of the Port-A-Cath II to make it safer or adequately

warn physicians of the dangers associated with the Port-A-Cath II, ICU Medical Inc. continued to

actively and aggressively market the Port-A-Cath II as safe, despite their knowledge of numerous

reports of infection and associated injuries.

        55.     Moreover, ICU Medical Inc. concealed—and continue to conceal—their

knowledge of the Port-A-Cath II’s dangerous propensity to precipitate infection. ICU Medical Inc.

further concealed their knowledge that the catheter design caused these failures and that these

failures cause serious injuries.

        56.     The conduct of ICU Medical Inc., as alleged in this Complaint, constitutes willful,

wanton, gross, and outrageous corporate conduct that demonstrates a conscious disregard for the

safety of Plaintiff. ICU Medical Inc. had actual knowledge of the dangers presented by the Port-



2
 Christina Jewett, Hidden Harm: Hidden FDA Reports Detail Harm Caused by Scores of Medical Devices, Kaiser
Health News (Mar. 2019)



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A-Cath II System, yet consciously failed to act reasonably to:

               a.      Adequately inform or warn Plaintiff, her prescribing physicians, or the

               public at large of these dangers;

               b.      Establish and maintain an adequate quality and post-market surveillance

               system; or

               c.      Recall the Port-A-Cath II System from the market.

             SPECIFIC FACTUAL ALLEGATIONS AS TO PLAINTIFFS

       57.     On or about February 2021, Decedent Joann Tate underwent placement of a port.

       58.     Decedent’s port was a Port-A-Cath II Model No. 21-4455-24; Lot No. 3829680.

       59.     Defendant, directly or through its agents, apparent agents, servants, or employees

designed, manufactured, marketed, advertised, distributed, and sold the port that was implanted in

decedent.

       60.     Defendant manufactured, sold, and/or distributed the port to decedent, through her

doctors, to be used for vein access.

       61.     Decedent presented to the Cleveland Clinic in Warrensville Heights, Ohio with

shortness of breath, and the doctors determined that she had a port infection.

       62.     The port infection caused her lungs to fill up with fluid and causing her sickness,

and the doctors removed her port immediately after this discovery, on or about March 14, 2023.

       63.     Decedent Joann Tate passed away on March 20, 2023.

       64.     At all times, the port was utilized and implanted in a manner foreseeable to

Defendant, as Defendant generated the instructions for use and created procedures for implanting

the product.

       65.     The port implanted in Decedent was in the same or substantially similar condition




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as when it left the possession of Defendant and in the condition directed by and expected by

Defendant.

       66.     Decedent and her physicians foreseeably used and implanted the port and did not

misuse or alter the port in an unforeseeable manner.

       67.     Defendant advertised, promoted, marketed, sold, and distributed the port as a safe

medical device when Defendant knew or should have known the port was not safe for its intended

purposes and that the product could cause serious medical problems.

       68.     Defendant had sole access to material facts concerning the defective nature of the

port product and its propensity to cause serious and dangerous side effects.

       69.     In reliance on Defendant’s representations, Decedent’s doctors were induced to,

and did use the port.

       70.     As a result of having the port implanted, Decedent has experienced significant pain

and suffering, including death and has suffered financial or economic loss, including, but to limited

to, obligations for medical services and expenses.

       71.     Defendant’s port was marketed to the medical community and to patients as a safe,

effective, reliable, medical devices implanted by safe and effective, minimally invasive surgical

techniques for the treatment of medical conditions, and as safer and more effective as compared

to the traditional products and procedures for treatment and other competing Vascular Access

Devices.

       72.     The Defendant has marketed and sold the Defendant’s port to the medical

community at large and patients through carefully planned, multifaceted marketing campaigns and

strategies. These campaigns and strategies include, but are not limited to, direct to consumer

advertising, aggressive marketing to health care providers at medical conferences, hospitals,




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private offices, and/or group purchasing organizations, and include a provision of valuable

consideration and benefits to the aforementioned.

        73.    The injuries, conditions, and complications suffered due to Defendant’s port

include, but are not limited to, infection; and severe and persistent pain.

        74.    Defendant was negligent toward Decedent in the following respects:

               a. Defendant failed to design and establish a safe, effective procedure for removal

                   of the port; therefore, in the event of a failure, injury, or complications it is

                   difficult to safely remove the port.

               b. Defendant provided incomplete, insufficient, and misleading information to

                   physicians in order to increase the number of physicians using the port for the

                   purpose of increasing their sales.       By so doing, Defendant caused the

                   dissemination of inadequate and misleading information to patients, including

                   the Decedent.

        75.    The port was utilized and implanted in a manner foreseeable to Defendant.

        76.    The port implanted into Plaintiff was in the same or substantially similar condition

as when it left the possession of the Defendant and in the condition directed by the Defendant.

        77.    At the time of her operation, Decedent was not informed of, and had no knowledge

of the complaints, known complications and risks associated with the port, including, but not

limited to, the extent of seriousness of the danger of infection.

        78.    Decedent was never informed by Defendant of the defective and dangerous nature

of the port.

        79.    Upon information and belief, at the time of her implant, neither Decedent nor her

physicians were aware of the defective and dangerous condition of the port.




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       80.     As a result of the Defendant’s actions and inactions, Decedent was injured due to

the use of the port, which has caused Decedent’s sepsis, various physical, mental, and emotional

injuries and damages. Accordingly, Plaintiff seeks compensatory damages.

                                   COUNT I: NEGLIGENCE

       81.     Plaintiff incorporates the preceding paragraphs as if set out fully herein.

       82.     The Defendant owed Decedent a duty to exercise reasonable care when designing,

manufacturing, marketing, advertising, distributing, selling and conducting post-market

surveillance of the port.

       83.     The Defendant failed to exercise due care under the circumstances and therefore

breached this duty by:

               a. Failing to properly and thoroughly test the port before releasing the device to

                   market, and/or failing to implement feasible safety improvements;

               b. Failing to properly and thoroughly analyze the data resulting from any pre-

                   market testing of the port;

               c. Failing to conduct sufficient post-market testing and surveillance of the port;

               d. Failing to comply with state and federal regulations concerning the study,

                   testing,   design,   development,     manufacture,     inspection,    production,

                   advertisement, marketing, promotion, distribution, and/or sale of the port;

               e. Designing, manufacturing, marketing, advertising, distributing, and selling the

                   port to consumers, including Decedent, without an adequate warning of the

                   significant and dangerous risks of the port and without proper instructions to

                   avoid the harm which could foreseeably occur as a result of using the device;

               f. Failing to exercise due care when advertising and promoting the port; and




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               g. Negligently continuing to manufacture, market, advertise, and distribute the

                   port after Defendant knew or should have known of its adverse effects.

       84.     As a direct, actual, and proximate cause of the Defendant’s actions, omissions, and

misrepresentations, Decedent has been injured and has sustained economic and non-economic

damages, including for pain and suffering and medical expenses.

       85.     In performing the foregoing acts, omissions, and misrepresentations, Defendant

acted grossly negligent, fraudulently, and with malice so as to justify an award of punitive and/or

exemplary damages.

             COUNT II: STRICT PRODUCTS LIABILITY – DESIGN DEFECT

       86.     Plaintiff incorporates the preceding paragraphs as if set out fully herein.

       87.     Defendant supplied, manufactured, sold, distributed and/or otherwise placed into

the stream of commerce the port implanted into Decedent.

       88.     The port implanted in Decedent was not reasonably safe for its intended use and

was defective with respect to its design.

       89.     The port was in a defective condition and was defective in its design in that when

it left the possession and control of Defendant, it was not safe for its anticipated use and safer,

more reasonable alternative designs existed that could have been utilized by Defendant.

       90.     The port was unreasonably dangerous to the user or consumer, taking into

consideration the utility of said product and the risks involved in its use. The foreseeable risks

associated with the design of the product were more dangerous than a reasonably prudent

consumer such as Decedent and/or her physicians would expect when the product was used for its

normal and intended purpose.

       91.     The port was expected to and did reach the consumer without substantial change in



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the condition in which it was supplied, distributed, sold and/or otherwise placed into the stream of

commerce.

       92.     A reasonably prudent medical device manufacturer would have recognized the

defective design of the port and not placed it into the stream of commerce.

       93.     The design defects in the port were not known, knowable and/or reasonably

apparent to Decedent and/or her physician or discoverable upon any reasonable examination.

       94.     The port was used and implanted in the manner in which it was intended to be used

and implanted by Defendant pursuant to the instructions for use and the product specifications

provided by Defendant.

       95.     Defendant is strictly liable to the Decedent for designing, manufacturing,

marketing, labeling, packaging and selling a defective product.

       96.     As a direct, actual, and proximate cause of the port’s aforementioned defects, the

Decedent was caused to suffer severe personal injuries, pain and suffering, severe emotional

distress, financial or economic loss, including, but not limited to, obligations for medical services

and expenses, and other damages.

         COUNT III: STRICT PRODUCTS LIABILITY – FAILURE TO WARN

       97.     Plaintiff incorporates the preceding paragraphs as if set out fully herein.

       98.     Defendant designed, set specifications, manufactured, assembled, processed,

marketed, labeled, distributed, and sold the port, including the one implanted in Decedent, into the

stream of commerce and in the course of the same, directly advertised and marketed the device to

consumers or persons responsible for consumers, and therefore had a duty to warn of the risk of

harm associated with the use of the device and to provide adequate instructions on the safe and

proper use of the device.




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       99.     At the time Defendant designed, manufactured, prepared, compounded, assembled,

processed, marketed, labeled, distributed, and sold the device into the stream of commerce, the

device was defective and presented a substantial danger to users of the product when put to its

intended and reasonably anticipated use, namely as an implanted port/catheter system to administer

intravenous fluids and/or medications. Defendant failed to adequately warn of the device’s known

or reasonably scientifically knowable dangerous propensities, and further failed to adequately

provide instructions on the safe and proper use of the device.

       100.    Defendant knew or should have known at the time it manufactured, labeled,

distributed, and sold the port that was implanted into Plaintiff’s Decedent that the port posed a

significant and higher risk than other similar devices of device failure and resulting serious injuries.

       101.    Defendant failed to timely and reasonably warn of material facts regarding the

safety and efficacy of the port; no reasonable health care provider, including Decedent’s, or patient

would have used the device in the manner directed, had those facts been made known to the

prescribing healthcare providers or the consumers of the device.

       102.    The warnings, labels, and instructions provided by Defendant at all times relevant

to this action, are and were inaccurate, intentionally misleading, and misinformed and

misrepresented the risks and benefits and lack of safety and efficacy associated with the device.

       103.    The health risks associated with the device as described herein are of such a nature

that ordinary consumers would not have readily recognized the potential harm.

       104.    The port, which was designed, manufactured, prepared, compounded, assembled,

processed, marketed, labeled, distributed, and sold into the stream of commerce by Defendant, was

defective at the time of release into the stream of commerce due to inadequate warnings, labeling

and/or instructions accompanying the product.




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       105.    When Decedent was implanted with the device, Defendant failed to provide

adequate warnings, instructions, or labels regarding the severity and extent of health risks posed

by the device, as discussed herein.

       106.    Defendant intentionally underreported the number and nature of adverse events

associated with infection of the devices to Decedent’s health care providers, as well as the FDA.

       107.    Upon information and belief, neither Decedent nor her health care providers knew

of the substantial danger associated with the intended and foreseeable use of the device as

described herein.

       108.    Decedent and her health care providers used the port in a normal, customary,

intended, and foreseeable manner, namely as a surgically placed device used to make it easier to

deliver medications directly into the patient’s bloodstream.

       109.    Upon information and belief, the defective and dangerous condition of the port,

including the one implanted into Decedent, existed at the time they were manufactured, prepared,

compounded, assembled, processed, marketed, labeled, distributed, and sold by Defendant to

distributors and/or healthcare professionals or organizations.

       110.    Upon information and belief, the port implanted in Decedent was in the same

condition as when it was manufactured, inspected, marketed, labeled, promoted, distributed and

sold by Defendant.

       111.    Defendant’s lack of sufficient warning and/or instructions was the direct and

proximate cause of Decedent serious physical injuries, and economic damages in an amount to be

determined at trial. Had Defendant provided adequate warnings, Decedent and her physicians

would not have used the port.

       112.    As a direct, actual, and proximate cause of the Defendant’s actions, omissions, and




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misrepresentations, Decedent has been injured and has sustained economic and non-economic

damages, including for pain and suffering and medical expenses.

       113.    In performing the foregoing acts, omissions, and misrepresentations, Defendant

acted grossly negligent, fraudulently, and with malice so as to justify an award of punitive and/or

exemplary damages.

                     COUNT IV: BREACH OF IMPLIED WARRANTY

       114.    Plaintiff incorporates the preceding paragraphs as if set out fully herein.

       115.    Defendant impliedly warranted that the port was merchantable and fit for the

ordinary purposes for which it was intended.

       116.    When the port was implanted in the Decedent, it was being used for the ordinary

purposes for which it was intended.

       117.    The Decedent, individually and/or by and through her physician, relied upon

Defendant’s implied warranties of merchantability in consenting to have the port implanted in her.

       118.    Privity exists between Decedent because her physicians acted as Decedent’s

purchasing agents in the subject transaction and/or because Decedent was a third-party beneficiary

of the subject contract.

       119.    Decedent was the intended consumer of the device when Defendant made the

warranties set forth herein, and such warranties were made to benefit Decedent as a patient and

consumer.

       120.    Defendant breached these implied warranties of merchantability because the port

implanted in Decedent was neither merchantable nor suited for its intended uses as warranted in

that the device varied from its intended specifications, which included, but are not limited to,

variances in the following respects:



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           a. Defendant’s manufacturing process in constructing the catheter of the port

               implanted in Plaintiff involved too high of a concentration of barium sulfate

               particles for the polymer formulation, which led to improperly high viscosity of the

               admixed polyurethane before polymerization and causing improper mixing of

               barium sulfate particles within the polymer matrix;

           b. Defendant knew or should have known barium sulfate is known to contribute to a

               reduction in the mechanical integrity of the polyurethane in its product, the port, as

               the barium sulfate particles dissociate from the surface of the catheter over time;

               and

           c. These defects led to a heterogenous modified polymer that included microfractures

               and weakened areas at the location of the higher barium sulfate concentration that

               ultimately led to the collection and proliferation of blood products, thereby

               drastically increasing the risk of biofilm, infection, and sepsis.

       121.    Defendant’s breaches of their implied warranties resulted in the implantation of an

unreasonably dangerous and defective product, the port, into Plaintiff’s body, placing said

Plaintiff’s health and safety in jeopardy.

       122.    The port was sold to Decedent’s health care providers for implantation in patients,

such as Decedent.

       123.    As a direct, actual, and proximate cause of the Defendant’s breaches of the

aforementioned implied warranties, the Plaintiff as caused and/or in the future will be caused to

suffer severe personal injuries, pain and suffering, severe emotional distress, financial or economic

loss, including but not limited to, obligations for medical services and expenses, and other

damages.




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       124.    Upon information and belief, Decedent’s healthcare providers sent notice to

Defendant of the adverse event that occurred to Decedent and thus, the nonconformity of the port,

within a reasonable period of time following discovery of the breach of warranty and before suit

was filed.

                      COUNT V: BREACH OF EXPRESS WARRANTY

       125.    Plaintiff incorporates the preceding paragraphs as if set out fully herein.

       126.    Defendant through their officers, directors, agents, representatives, and written

literature and packaging, and written and media advertisement, expressly warranted that the port

was safe and fit for use by consumers, was of merchantable quality, did not produce dangerous

side effects, and was adequately tested and fit for its intended use.

       127.    The port does not conform to the Defendant’s express representations because it is

not reasonably safe, has numerous serious side effects, and causes severe and permanent injury.

       128.    Defendant further breached express representations and warranties made to

Decedent, her physicians and healthcare providers with respect to the port implanted in Decedent

in the following respects:

               a. Defendant represented to Decedent and her physicians and healthcare

                   providers through labeling, advertising, marketing materials, detail persons,

                   seminar presentations, publications, notice letters, and regulatory submissions

                   among other ways that the Defendant’s port was safe, meanwhile Defendant

                   fraudulently withheld and concealed information about the substantial risks of

                   serious injury associated with using the port;

               b. Defendant represented to Decedent and her physicians and healthcare

                   providers that the Defendant’s port was as safe and/or safer than other



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                   alternative procedures and devices then on the market, but fraudulently

                   concealed information that demonstrated that port was not safer than

                   alternative therapies and products available on the market; and

               c. Defendant represented to Decedent and her physicians and healthcare

                   providers that the port was more efficacious than other alternative procedures,

                   therapies and/or devices. Meanwhile, Defendant fraudulently concealed

                   information, regarding the true efficacy of the port.

       129.    At all relevant times, the port did not perform as safely as an ordinary consumer

would expect, when used as intended or in a reasonably foreseeable manner.

       130.    Decedent, her physicians, and the medical community reasonably relied upon the

Defendant’s express warranties for the port.

       131.    Privity exists between Decedent and her physicians because Decedent’s physicians

acted as Decedent’s purchasing agents in the subject transaction and/or because Decedent was a

third-party beneficiary of the subject contract.

       132.    Decedent was the intended consumer of the device when Defendant made the

warranties set forth herein, and such warranties were made to benefit Decedent as a patient and

consumer.

       133.    Decedent was intended consumer of the port when Defendant made the warranties

set forth herein, and such warranties were made to benefit Decedent as a patient and consumer.

       134.    At all relevant times, the port was used on Decedent by her physicians for the

purpose and in the manner intended by Defendant.

       135.    Decedent and her physicians, by the use of reasonable care, could not have

discovered the breached warranty and realized its danger.




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       136.     As a direct, actual, and proximate cause of the Defendant’s express warranties,

Decedent has suffered, and will continue to suffer, severe physical pain and injuries which are

permanent and lasting in nature, emotional distress, loss of the capacity for the enjoyment of life,

medical and nursing expenses, surgical expenses, and economic loss as alleged herein.

       137.     Upon information and belief, Decedent’s healthcare providers sent notice to

Defendant of the adverse event that occurred to Decedent and thus, the nonconformity of the port,

within a reasonable period of time following discovery of the breach of warranty and before suit

was filed.

                        COUNT VI: FRAUDULENT CONCEALMENT

       138.     Plaintiff incorporates the preceding paragraphs as if set out fully herein.

       139.     Defendant engaged in and fraudulently concealed material information with respect

to the Port-A-Cath II in the following respects:

             a. Defendant fraudulently withheld and concealed information regarding the

                substantial risks of using the Port-A-Cath II, including, but not limited to, its

                heightened propensity to precipitate infection, and cause complications from the

                labeling, advertising, marketing materials, seminar presentations, publications,

                notice letters, and regulatory submissions;

             b. Defendant received reports of Port-A-Cath II catheter failures and the nature of

                these injuries but did not disclose that the frequency of these Port-A-Cath II catheter

                failures and that the severity of injuries associated with these failures were

                substantially worse than had been reported;

             c. Defendant concealed that it knew of the Port-A-Cath II’s dangerous propensity to

                precipitate infection and was causing complications from causes other than the



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               manner in which the implanting physician implanted the device;

           d. Defendant intentionally underreported the number and nature of adverse events

               associated with the fracture of Port-A-Cath II catheters to physicians (including her

               own) and the general public (including herself).

           e. Defendant utilized the FDA’s Alternative Summary Reporting program to report

               adverse events in order to conceal these reports and prevent Plaintiff and her

               physicians from discovering the true risks of their Port-A-Cath II catheters.

       140.    Defendant had a duty to disclose each of the material facts that they fraudulently

concealed from Plaintiff and her physicians.

       141.    Defendant had sole access to material facts concerning the dangers and

unreasonable risks of the Port-A-Cath II.

       142.    The concealment of information by the Defendant about the risks of the Port-A-

Cath II was intentional.

       143.    The concealment of information about the Port-A-Cath II was made by the

Defendant with the intent that Plaintiff’s health care providers and Plaintiff rely upon them.

       144.    Plaintiff and her physicians were unaware of the substantial risks of the Port-A-

Cath II which the Defendant concealed from the public, including Plaintiff and her physicians.

       145.    As a direct and proximate result of the Defendant’s actions, omissions and

misrepresentations, Plaintiff has suffered, and will continue to suffer, severe physical pain and

injuries which are permanent and lasting in nature, emotional distress, loss of the capacity for the

enjoyment of life, medical and nursing expenses, surgical expenses, and economic loss as alleged

herein. These damages have occurred in the past and will continue into the future.

       146.    The Defendant acted with oppression, fraud, and malice towards Plaintiff, who




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accordingly requests that the trier of fact, in the exercise of its sound discretion, award additional

damages for the sake of example and for the purpose of punishing Defendant for their conduct, in

an amount sufficiently large to be an example to others, and to deter this Defendant and others

from engaging in similar conduct in the future.

        147.     Had Defendant not concealed this information, neither Plaintiff’s nor her health

care providers would have consented to using the Port-A-Cath II placed in Plaintiff.

                 COUNT VII: OHIO CONSUMER SALES PRACTICES ACT
        148.     Plaintiff incorporates the preceding paragraphs as if set out fully herein.

        149.     Decedent was a consumer who purchased the port, and the product was intended

for personal use.

        150.     The acts and practices engaged in by Defendant as outlined above constitute

unlawful, unfair, and/or fraudulent business practices in violation of Ohio Rev. Code Ann. §

1345.01 et seq.

        151.     Defendant engaged in unlawful practices including deception, false promises,

misrepresentation, and/or the concealment, suppression, or omission of material facts in

connection with the sale, distribution, and/or advertisement of the port in violation Ohio Rev.

Code Ann. § 1345.03;

        152.     Plaintiff’s Decedent purchased the port, a product that was falsely represented, as

further set forth herein, as having certain characteristics and benefits it did not have, inter alia, that

it was reasonably safe for use, as further set forth above, in violation of the Ohio Consumer Sales

Practices Act.

        153.     Defendant further knowingly or recklessly engaged in unfair, unconscionable,

deceptive, deliberately misleading, false, and/or fraudulent and deceptive acts and practices, all in

violation of the Ohio Consumer Sales Practices Act, and as further described herein, which created


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a likelihood of confusion or misunderstanding on Plaintiff’s Decedent part with respect to the port

she purchased, including, but not limited to, misrepresenting that the port was reasonably safe for

use and failing to adequately disclose the substantial risk of infection, and harm the product

entailed given the large number of adverse events Defendant knew or should have been aware of

but did not adequately disclose to Plaintiff’s Decedent.

          154.   Defendant’s practices were likely to mislead consumers who acted reasonably to

their detriment in purchasing the product based on Defendant’s representations that it was

reasonably safe for use when it in fact was not and had a higher risk of infection due to its defective

design.

          155.   Defendant intended for Plaintiff’s Decedent, her physicians, and other consumers

to rely on their deceptive practices and representations in order to continue selling and

manufacturing the port.

          156.   Plaintiff purchased the port, a product that was falsely represented, as set out above,

in violation of the Ohio Consumer Sales Practices Act and as a result Plaintiff suffered economic

damages in that the product she purchased was worth less than the product she thought she had

purchased had Defendant’s representations been true.

                                             COUNT VIII SURVIVAL
          157.   Plaintiff restates the allegations above as if fully rewritten herein.

          158.   As a direct and proximate result of the defective and unreasonably dangerous

condition of Defendant’s’ port and Defendant’s acts and/or omissions, Decedent suffered Injuries

and Damages prior to Decedent’s death.

          159.   Where    authorized     under   Ohio     law,   Decedent’s     spouse,   beneficiaries,

administrators, and/or lawful representatives of Decedent’s estates seek all Injuries and Damages

that Decedent suffered as a result of Defendant’s port.



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       TIMELINESS AND TOLLING OF STATUTES OF LIMITATION AND REPOSE

       160.       Defendant’s actions, including misrepresentations, omissions, and fraudulent

concealment, prevented Plaintiff from discovering the existence of the cause of action.

Accordingly, the statute of limitations is tolled under the principles of equitable tolling and the

discovery rule.

       161.       Plaintiff did not discover, and through the exercise of reasonable diligence could

not have discovered, the facts giving rise to the claims set forth herein. As such, under the

discovery rule, the statute of limitations is tolled until the date of discovery, and the claims are

timely filed.

                                                PRAYER

       WHEREFORE, Plaintiff prays for judgment against each of the Defendant as follows:

       a.     Judgment be entered against all Defendant on all causes of action of this Complaint;

       b.     Plaintiff be awarded her full, fair, and complete recovery for all claims and causes of

              action relevant to this action;

       c.     Plaintiff be awarded general damages according to proof at the time of trial;

       d.     Plaintiff be awarded damages, including past, present, and future, medical expenses

              according to proof at the time of trial;

       e.     Plaintiff be awarded costs and attorney’s fees in connection with Plaintiff’s action

              under Ohio’s Consumer Sales Practices Act under Ohio Rev. Code §1345.01, et seq.,

              and Ohio Rev. Code §1345.75.

       f.     Awarding pre-judgment and post-judgment interest to the Plaintiff;

       g.     Awarding the costs and the expenses of this litigation to the Plaintiff;

       h.     For such other and further relief as the court may deem just and proper.



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                    DEMAND FOR JURY TRIAL

              Plaintiffs hereby demands trial by jury on all issues.

                                     Respectfully submitted,

                                     THE COCHRAN FIRM

                                     /s/ Melissa Payne
                                     Melissa Payne
                                     Ohio Bar No. 0098027
                                     Danae N. Benton
                                     Texas Bar No: 24080422
                                     Florida Bar: 1002916
                                     Larry Taylor, Jr.
                                     Oklahoma Bar: 34221
                                     New Mexico Bar: 153622
                                     Arizona Bar: 038277
                                     Texas Bar No: 24071156
                                     Dimitri Dube
                                     Texas Bar No: 24068944
                                     Pennsylvania Bar No. 201816
                                     THE COCHRAN FIRM
                                     1825 Market Center Blvd., Suite 500
                                     Dallas, TX 75207
                                     Phone: 214-651-4260
                                     Fax: 214-651-4261
                                     Email: dbenton@cochrantexas.com
                                     ltaylor@cochrantexas.com
                                     ddube@cochrantexas.com
                                     mpayne@cochrantexas.com

                                     Attorneys for Plaintiff




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